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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      2:15-CV-4424 AG (AJWx)                                  Date   June 13, 2017
   Title         ATEN International Co., Ltd. v. Uniclass Technology Co., Ltd., et al.




   Present: The                ANDREW J. GUILFORD
   Honorable
             Not Present                              Not Present
             Deputy Clerk                      Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:          [IN CHAMBERS] ORDER RE TRIAL TIMING, TRIAL
                         PROCEDURE, AND REMAINING MOTIONS IN LIMINE

  This Order concerns issues discussed during the Final Pretrial Conference held on June 5,
  2017, including trial timing and motions in limine, and provides additional guidance on trial
  procedure. The Court’s calendar can’t now accommodate a trial beginning on June 20,
  2017 and lasting as long as requested by the parties. The trial is rescheduled now for
  July 25, 2017.

  1.       FINAL PRETRIAL CONFERENCE ORDER AND GENERAL MATTERS

  As the Court stated, it has signed the Final Pretrial Conference Order. The parties are
  ordered to meet and confer in good faith on stipulations and other matters to shorten time.

  2.       TRIAL TIMING

  Trial times generally are 9:00 a.m. to 12:00 p.m. and 1:30 p.m. to 4:30 p.m., Tuesday through
  Thursday, and 8:00 a.m. to 1:30 p.m. on Friday, with the chance of going longer on some
  days when necessary. The trial in this case will start on Tuesday, July 25, 2017 at 9:00 a.m.


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  .

  3.          TRANSCRIPT TESTIMONY

  Any transcript testimony that must be reviewed by the Court for objections, counter-
  designations, etc., shall be submitted as early as possible.

  4.          JURY SELECTION PROCEDURE

  The Court will use the Arizona Blind Strike Method of jury selection.

  5.          TRIAL PROCEDURES

  As explained in the Court’s standard scheduling order, available on its website, the parties are
  ORDERED to adhere to the following procedures.

              5.1   Parties’ Statements of the Case

  As discussed at the Pretrial Conference, the Parties will make a brief two-minute, non-
  argumentative statement to the jury at the beginning of Voir Dire.

              5.2   Voir dire

  The Court will question jurors concerning standard topics. Any special questions or topics
  requested to be put to prospective jurors by the Court on voir dire shall be filed and served
  timely. As ordered by the Court at the Pretrial Conference, the parties have submitted two
  Witness Lists the Court will read to the jury at Voir Dire.

              5.3    Jury instructions

  The Court uses instructions from the Federal Circuit Bar Association Model Patent Jury
  Instructions, following all the Local Rules at Local Rule 51 et seq. At least seven days before
  trial, the parties shall file with the Court the following:
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                             UNITED STATES DISTRICT COURT
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           C     A joint set of jury instructions on which there is agreement. (Plaintiff has the
                 burden of preparing the joint set of jury instructions.)

           C     Each party’s proposed jury instructions which are objected to by any other
                 party. And for every disputed jury instruction, the following subsections: (1)
                 The text of each competing instruction, presented side-by-side in a chart; (2) A
                 redline comparison of the competing instructions; (3) Plaintiffs’ points and
                 authorities; and (4) Defendant’s points and authorities.

  The failure to timely follow these rules on jury instructions may be deemed a
  withdrawal of any right to submit instructions.

           5.4   Special Verdict

  If any special forms of verdict are requested, they shall be prepared, filed, and served under
  Local Rules 49-1 and 49-2.

           5.5   Exhibits

  COUNSEL SHOULD LIMIT THE NUMBER OF TRIAL EXHIBITS SUBMITTED FOR
  THE TRIAL. Ideally, at least 80% of the trial exhibits submitted should be properly offered
  into evidence at trial. Unless an electronic alternative is approved by the Court, the parties
  shall prepare an original set and a copy set of trial exhibits in 3-ring binders, each tabbed
  down the right side with the exhibit number, prefaced by an index of each exhibit, following
  Local Rule 26-3 in numbering exhibits. If voluminous exhibits will be delivered to the Court’s
  loading dock, the delivery should be coordinated before trial with the Courtroom Deputy
  Clerk at AG_chambers@cacd.uscourts.gov.

           5.6   Submission at trial

  The parties shall submit the following to the Courtroom Deputy Clerk on the first day of trial:

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                             UNITED STATES DISTRICT COURT
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           (1)    The original exhibits binder set with the Court’s exhibit tags attached and filled
                  out showing the case number, case name, and exhibit number. (Exhibit tags
                  must be attached so as not to cover exhibit text.)

           (2)    The copy exhibit binder set for use by the Judge.

           (3)    Three copies of exhibit lists, showing which exhibits may be received into
                  evidence without objection.

           (4)    Three copies of witness lists with estimates of the total time on the stand for
                  each witness.

           (5)    A transcript or copy of any deposition or other discovery response to be read
                  to the jury, following Local Rule 16-2.7.

           5.7    Witnesses

  If a party runs out of witnesses, the Court may deem that party has rested. A party must keep
  opposing parties informed about upcoming witnesses, always informing opposing parties of
  the witnesses for the next court day before 5:00 p.m. of the previous court day. Only one
  attorney per party shall examine and defend a witness, except in special circumstances.

           5.8    Admission of Exhibits

  When a party thinks an exhibit is admissible and should be admitted, that party should move
  for its admission.

           5.9    Objections

  Objections should be brief, stating only, “Objection” followed by the specific legal ground
  such as “Hearsay” or “403.”

           5.10   Decorum
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  Trials will be conducted in a dignified manner, following the traditional rules of trial decorum.
  Show respect for the trial process by being on time. Do not address witnesses over age 14 by
  their first names. Most examination and argument should be done at the lectern. The Court
  recognizes that at times it is necessary to enter the well in this courtroom.

  6.          MOTIONS IN LIMINE

  The Court rules as follows.

  1.          Ruling on Plaintiff’s Motions in Limine

  C           MIL 1 (Dkt. 308): to preclude unproduced source code: DENIED.
  C           MIL 2 (Dkt. 309): to preclude argument regarding ATEN/Uniclass License Only
              Includes Three Patents: DENIED.
  C           MIL 3 (Dkt. 294): to exclude expert testimony: DENIED.
  C           MIL 4 (Dkt. 311, 324): to preclude argument regarding forum-shopping: GRANTED.
  C           MIL 5 (Dkt. 312): to exclude expert testimony of Cragun: DENIED.

  2.          Rulings on Defendant’s Motions in Limine

  C           MIL 1 (Dkt. 316): to exclude expert opinion and testimony of Jeffrey Snell:
              DENIED.
  C           MIL 2 (Dkt. 322): to exclude expert opinion and testimony (of Lavian): DENIED.
  C           MIL 3 (Dkt. 369): to exclude claims against Defendants other than Uniclass
              Technology Co., Ltd.: DENIED.
  C           MIL 4 (Dkt. 373): to exclude any claim or evidence of breach of contract:
              GRANTED IN PART. Plaintiff is precluded from arguing that Uniclass breached
              the agreement. But the agreement may be introduced for other purposes, which will be
              determined on a case-by-case basis at trial.

  7.          REPRESENTATIVE AND LINKED PRODUCTS (DKT. 350)

  The parties have reached agreement on the following representative and linked products:
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           (1) UDV-TA2 representative product: linked products UDP-TA2; UHV-TA2; USB-
  TA2.
           (2) UKA-248 single product
           (3) AD-CPO2A representative product: linked product AD-EP04A.

  Regarding the 3 disputed groups:

           (1) UDV-TA2 representative product: linked products USB-SP02A/USB-SP04A.

           Resolution: ATEN may keep these as accused products.

           (2) Prima T8 representative product: linked products Prima T4 and T16.

           Resolution: ATEN may keep this grouping unless the parties agree that the Prima T
           products are not sold in the United States and cannot infringe.

           (3) AD-CP02A representative product: various linked products.

           Resolution: ATEN may keep this grouping.

  For each disputed group, Uniclass is permitted to argue that each accused product is not
  representative of others and why the accused products, individually or as a group, do not
  infringe.


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                                                      Initials of
                                                      Preparer




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